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                                UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF TEXAS
                                       MARSHALL DIVISION

 IN RE:                                                  §
                                                         §         CASE NO. 15-20032
 TEXAS ENTERPRISES, LLC d/b/a                            §
 BLUEBONNET ELITE ASSISTED                               §
 LIVING                                                  §
                                                         §         CHAPTER 11
 DEBTOR.                                                 §
 DATE AND TIME OF HEARING:                                             NATURE OF PROCEEDING:

 1.         Tuesday, November 17, 2015, at 9:30               1.        Motion for Valuation [DKT # 57]
           a.m.


                                            EXHIBIT LIST
                              of Debtor, Texas Enterprises, LLC (“Debtor”)
 [*        Debtor, requests that the Court take judicial notice of the pleadings on file with the Court, including the
           exhibits listed below marked with an asterick (*) and are available for review on the Court’s PACER
           website and have been previously copied to the appropriate interested parties]
 EXHIBIT       DESCRIPTION OF EXHIBIT                                             OFFERED      OBJECTION     ADMITTED

 1.            Debtor’s Appraisal of 102 Floyd St., Naples, TX
 2. *          Debtor’s Amended Schedule B
 3. *          Proof of claim #5 of MUFG Union Bank, N. A.
 4. *          Proof of claim #6 of MUFG Union Bank, N. A.

 5. *          Docket Report and any document listed thereon
               Debtor reserves the right to offer as an exhibit any
               document or exhibit designated or offered by any
               other interested party in the above referenced matters.


                                                 WITNESS LIST
                                                      of Debtor
  1.          Chris Diamond, Appraisal Firm of Texas
  2.          Tammy Makowiecki
  3.          Ziggy Makowiecki


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  4.         Jan Litwin
 5.          Any authorized Officer, Agent or Representative designated by Debtor
 6.          Any authorized Officer, Agent or Representative designated by MUFG Union Bank, N. A.
             Debtor, reserves the right to call any witnesses designated or called by any other interested
             party.

        Debtor reserves the right to supplement this Witness and Exhibit List as necessary.

        Dated November 12, 2015.

                                                   Respectfully Submitted,
                                                   SEARCY & SEARCY, P.C.

                                             By: /s/ Joshua P. Searcy
                                                 Jason R. Searcy, SBN 17953500
                                                 Joshua P. Searcy, SBN 24053468
                                                 Callan C. Searcy, State Bar No. 24075523
                                                 P. O. Box 3929
                                                 Longview, Texas 75606
                                                 Telephone: (903) 757-3399
                                                 Facsimile: (903) 757-9559
                                                 Attorneys for Debtor

                                    CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the above and foregoing document has been
forwarded via electronic mail, pursuant to the Electronic Case Management system of the United
States Bankruptcy Court for the Eastern District of Texas on November 12, 2015; and served by
regular mail, postage prepaid to the following interested parties shown below.

                                                    /s/ Joshua P. Searcy
                                                   Joshua P. Searcy


Texas Enterprises, LLC                                     Union Bank
Attention: Jan Litwin, President                           c/o Richard Anderson
102 Floyd St.                                              Anderson, Burns & Vela, LLP
Naples, TX 75568                                           8111 LBJ Frwy., Ste. 1501
                                                           Dallas, TX 75251




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